           Case 2:10-cr-00757-JS Document 58 Filed 08/08/13 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                            :            CRIMINAL ACTION No. 10-757
                                                    :
   v.                                               :            CIVIL ACTION No. 12-3460
                                                    :
THOMAS ROBERTSON                                    :

                                               ORDER

        AND NOW, this 8th day of August, 2013, for the reasons set forth in the accompanying

Memorandum, it is ORDERED the Government’s Motion to Dismiss Defendant’s Petition for

Relief Under 28 U.S.C. § 2255 (Document 55) is GRANTED.

        It is further ORDERED Defendant Thomas Robertson’s Motion Under 28 U.S.C. § 2255

to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (Document 46) is

DISMISSED.       Robertson having failed to make a substantial showing of the denial of a

constitutional right, a certificate of appealability shall not issue.

        It is further ORDERED Robertson’s requests for an evidentiary hearing and for

appointment of counsel (Documents 52 and 53) are DENIED.

        The Clerk of Court is DIRECTED to mark both of the above-captioned cases CLOSED.



                                                        BY THE COURT:



                                                           /s/ Juan R. Sánchez              .
                                                        Juan R. Sánchez
